UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION
UNITED STATES OF AMERICA, )
Plaintiff,
v. No. 4:21-cr-00254 HEA
JACKSON PRESTON SIPLES, Il,
Defendant. 5

GUILTY PLEA AGREEMENT

Come now the parties and hereby agree, as follows:

1. PARTIES:

The parties are defendant Jackson Preston Siples, III (“the Defendant”), represented by
defense counsel Richard H. Sindel, and the United States of America (hereinafter “United
States” or “Government”), represented by the Office of the United States Attorney for the
Eastern District of Missouri. This agreement does not, and is not intended to, bind any
governmental office or agency other than the United States Attorney for the Eastern District of
Missouri. The Court is neither a party to nor bound by this agreement.

2. GUILTY PLEA:

Pursuant to Rule 11(c)(1)(A), Federal Rules of Criminal Procedure, in exchange for the
Defendant’s voluntary plea of guilty to Counts 1, 7, and 12 of the charge, the Government agrees
to move for the dismissal as to the Defendant of Counts 2-6, 8-11, and 13-15 at the time of
sentencing. Moreover, the United States agrees that no further federal criminal prosecutions will
be brought in this District relative to the Defendant’s (a) solicitation, receipt, offer, or payment of
illegal kickbacks in exchange for referrals of patients to durable medical equipment (“DME”)

companies, medical testing laboratories, and pharmacies for DME, genetic testing, and
prescription medications (collectively referred to as “Health Care Services”) and (b) the creation,
use, and submission of false documents related to health care matters, including patient records
and reimbursement claims for Health Care Services, from about September 2016 to March 2019,
of which the Government is aware at this time.

In addition, the parties agree that the U.S. Sentencing Guidelines analysis agreed to by
the parties herein is the result of negotiation and led, in part, to the guilty plea. The parties
further agree that the Defendant may request a sentence below the U.S. Sentencing Guidelines
range (combination of Total Offense Level and Criminal History Category) ultimately
determined by the Court, pursuant to any chapter of the Guidelines and Title 18, United States
Code, Section 3553(a). The parties further agree that notice of any such request will be given no
later than ten days prior to sentencing and that said notice shall specify the legal and factual
bases for the request. The Government reserves the right to oppose such a request and to
recommend a sentence within the U.S. Sentencing Guidelines range.

3. ELEMENTS:

As to Count I, the Defendant admits to knowingly violating Title 18, United States Code,
Sections 1347(a)(1) and 2, and admits there is a factual basis for the plea and further fully
understands that the elements of the crime of executing a health care fraud scheme are:

One, the Defendant knowingly executed or attempted to execute a scheme to defraud a
health care benefit program;

Two, the Defendant did so with the intent to defraud;

Three, the Defendant did so in connection with the payment for health care benefits or
services; and

Four, the Medicaid and Medicare Programs are health care benefit programs.
As to Count 7, the Defendant admits to knowingly violating Title 18, United States Code,
Sections 1035(a)(2) and 2, and admits there is a factual basis for the plea and further fully
understands that the elements of the crime of making false statements related to health care
matters are:

One, the Defendant voluntarily and intentionally used a document containing a false or
fraudulent statement;

Two, at the time the Defendant did so, he knew that the document contained a false or
fraudulent statement;

Three, the false or fraudulent statement was material to the Medicare and Medicaid
Programs; and

Four, the Missouri Medicare and Medicaid Programs are health care benefit programs.

As to Count 12, the Defendant admits to knowingly violating Title 42, United States
Code, Section 1320a-7b(b)(1}(B) and Title 18, United States Code, Section 2, and admits there is
a factual basis for the plea and further fully understands that the elements of the crime of offering
and paying illegal kickbacks for referrals are:

One, the Defendant offered or paid remuneration in return for referring an individual for
an item or service;

Two, one purpose for which the remuneration was offered or paid was to induce or
reward referrals for an item or service;

Three, the item or service was to be paid in whole or in part under a federal health care
program; and

Four, the Defendant knew that his conduct was wrongful.
4. FACTS:

The parties agree that the facts in this case are as follows and that the Government would
prove these facts beyond a reasonable doubt if the case were to go to trial. These facts may be
considered as relevant conduct pursuant to Section 1B1.3:

Co-schemers

a. The Defendant admits that he was a resident of Cape Girardeau County, Missouri.
The Defendant further admits that in or about April 2017, he began his employment as a “temp
employee” responsible for making data entries for AE Wellness. He was eventually recruited
by co-schemers Jamie McCoy (“McCoy”) and Brandy McKay (“McKay”) to run the daily
operations of AE Wellness and was eventually listed as the owner of Radiance Health Group and
Integrity Medical Supply (“Integrity Medical”).

b. Co-schemer McKay was a resident of Cape Girardeau County, Missouri. After
receiving EMT training, McKay worked in the health care field in various capacities, including
as a medical assistant at the Ferguson Medical Group in Sikeston, Missouri, in the dialysis unit at
St. Francis Hospital in Cape Girardeau, Missouri, and as an office manager at Jackson Healing
Arts from 2009 until 2015. Since 2015, McKay has owned or managed at least ten companies
that sold DME to patients, including AE Wellness.

c. Co-schemer McCoy was a resident of Cape Girardeau County, Missouri. From in
or about 2013 to at least 2019, McCoy was employed in the health care field. Since in or about
2015, he has owned or operated several DME companies, including AE Wellness, LLC; Summit
Medical Supply; Patriot Medical Supply; and DME Device Co.

d. The Defendant admits that he, McCoy, and McKay owned or operated companies
that provided orthotic braces and other DME to patients and submitted, or caused to be

submitted, false and fraudulent reimbursement claims to Medicare, Medicaid, Tricare, and other
health care benefit programs for DME.
Relevant Medicare Provisions

e. The United States Department of Health and Human Services, through the
Centers for Medicare and Medicaid Services (CMS), administers the Medicare Program, which
is a federal health care benefits program for the elderly and disabled. Medicare Part B reimburses
health care providers for covered health services that they provide to Medicare beneficiaries in
outpatient settings. Medicare Part B reimburses providers for DME that is medically necessary
and ordered by a medical doctor or other qualified Medicare provider.

f. CMS acts through fiscal agents called Medicare Administrative Contractors or
“MACs” which are statutory agents for CMS for Medicare Part B. The MACs are private entities
that review claims and make payments to providers for services rendered to Medicare
beneficiaries. The MACs are responsible for processing Medicare claims arising within their
assigned geographic areas, including determining whether the claim is for a covered service.
Wisconsin Physicians Service Insurance Corporation (WPS) is the Part B MAC for Eastern
Missouri and thus processes reimbursement claims for services provided and billed by Medicare
providers in the Eastern District of Missouri.

g. To receive Medicare reimbursement, providers must make an appropriate
application to the MAC and execute a written provider agreement. The provider agreement
obligates the provider to know, understand, and follow all Medicare regulations and rules. After
successful completion of the application process, the MAC assigns the provider a unique
provider number, which is a necessary identifier for billing purposes.

h. Between December 2015 and December 2018, the Defendant, McKay, and
McCoy completed and signed several Medicare enrollment applications. Contained in the

enrollment applications was Section 13, entitled “Penalties for Falsifying Information” which
informed the applicant that he or she could be criminally prosecuted for (a) executing or
attempting to execute a health care fraud scheme or using false or fraudulent statements or
representations to obtain money from a health care benefit program; or (b) making or using false
or fraudulent statements or representations in connection with the delivery or payment for health
care benefits, items, or services.

i. On or about November 13, 2017, the Defendant completed a Medicare provider
enrollment application for Integrity Medical, which application contained Section 13, “Penalties
for Falsifying Information,” and Section 15, “Certification Statement,” The Defendant signed the
“Certification Statement” of the applications and thereby certified:

I have read and understand the Penalties for Falsifying Information, as printed in

the application. I understand that any deliberate omission, misrepresentation, or

falsification of any information . . . contained in any communication supplying

information to Medicare . . . [may be criminally prosecuted].

I agree to abide by the Medicare laws, reguiations and program instructions . . .
including the Federal anti-kickback statute . . .

I will not knowingly present or cause to be presented a false or fraudulent claim for
payment by Medicare, and will not submit claims with deliberate ignorance or
reckless disregard of their truth or falsity.

j. On or about December 6, 2018, the Defendant completed a Medicare provider
enrollment application for Radiance Health Group and identified himself as the owner, manager,
and director of Radiance Health Group. The provider enrollment application contained the same
Section 13, “Penalties for Falsifying Information,” and Section 15, “Certification Statement,”
described above. Thus, the Defendant received notice on at least two occasions of the penalties
for providing false information to Medicare and certified that he would comply with the laws,
regulations, and policies applicable to Medicare.

k, As part of the Medicare provider enrollment application for AE Wellness and

Patriot Medical Supplies, on or about December 12, 2015, December 12, 2016, January 11,
2017, and May 31, 2017, co-schemer McCoy signed the “Certification Statement” of the
applications. These Medicare provider enrollment applications contained the same Section 13,
“Penalties for Falsifying Information,” and Section 15, “Certification Statement,” described
above. Thus, McCoy received notice on multiple occasions of the penalties for providing false
information to Medicare and repeatedly certified that he would comply with the laws,
regulations, and policies applicable to Medicare.

l. Between November 13, 2017 and March 2, 2018, co-schemer McKay completed
several Medicare provider enrollment applications, including one on or about November 13,
2017, for MC Medical Supply. These Medicare provider enrollment applications contained the
same Section 13, “Penalties for Falsifying Information,” and Section 15, “Certification
Statement,” described above. Thus, McKay received notice on multiple occasions of the
penalties for providing false information to Medicare and repeatedly certified that she would
comply with the laws, regulations, and policies applicable to Medicare.

Relevant Medicaid Provisions

m. MO HealthNet administers the Missouri Medicaid Program, which is jointly
funded by the State of Missouri and the federal government. Missouri Medicaid reimburses
health care providers for covered services rendered to eligible low-income Medicaid recipients.
A Medicaid provider must enter into a written agreement with MO HealthNet to receive
reimbursement for medical services to Medicaid recipients and must agree to abide by MO
HealthNet regulations in rendering and billing for those services.

n. On or about April 19, 2018, as the “owner/CEO,” co-schemer McKay signed a
Missouri Medicaid provider agreement containing the following language:

By my signature below, I, the applying provider, read and agree that, upon the

acceptance of my enrollment, I will participate in the Vendor Payment plan. I am

responsible for all services provided and all billing done under my provider
number regardless to whom the reimbursement is paid. It is my legal

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responsibility to ensure that the proper billing code is used and indicate the length

of time I actually spend providing services regardless to whom the reimbursement

is paid. I agree to be financially responsible for all services, which are not

documented. J agree the Missouri Title XIX Medicaid manual, bulletins, rules,

regulations and amendments thereto shall govern and control my delivery of

services and further agree to the following terms:

I agree that it is my responsibility to access manual materials that are available

from DMS over the Internet. I will comply with the Medicaid manual, bulletins,

rules, and regulations as required by the Division of Medical Services and the

United State Department of Health and Human Services in the delivery of

services and merchandise and in submitting claims for payment. I understand that

in my field of participation I am not entitled to Medicaid reimbursement if I fail to

so comply, and that I can be terminated from the program for failure to comply.

Relevant Tricare Provisions

Oo. Tricare is a federally funded program that reimburses for health care services
provided to active, retired, reserve, guard, and uniformed service members and their families.
The Defense Health Agency (“DHA”) is a joint, integrated agency that supports the delivery of
health services to military health system beneficiaries. DHA exercises management
responsibility for Tricare and receives, processes, and pays claims on behalf of Tricare.

Definition of Telemedicine

p. Telemedicine, also referred to as telehealth medicine, is the use of information
technology by doctors and other authorized health care providers to provide clinical health care
from a distance. Telemedicine includes, but is not limited to, real-time audio or video
communication between patients in one location and the doctor or authorized health care
provider in another location. In all instances, telemedicine doctors or other authorized health care
providers are required to conduct an evaluation and assessment sufficient to determine the
patients’ medical needs before prescribing or ordering any service or product, including DME
equipment, genetic testing, and medications.

Federal Anti-Kickback Statute

q. Compliance with the Anti-Kickback Statute (42 U.S.C. § 1320a-7b(b)) (“AKS”)
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is a condition of payment for both Medicare and Medicaid. In other words, Medicare and
Medicaid will not pay for services that are provided in violation of the AKS.

r. The AKS makes it a criminal offense for any person to knowingly and willfully
solicit, offer, pay or receive remuneration in return for or to induce any person to refer,
recommend, furnish, or arrange for the furnishing of any items, goods, and services, paid in
whole or in part by any federally funded health care program. Both parties to such an
arrangement may be criminally liable if one purpose of the arrangement is to obtain
remuneration for the referral of services or to induce referrals.

s. Remuneration is broadly defined as anything of value, including money, goods,
services, or the release or forgiveness of a financial obligation that the other party would
normally have to pay. In passing the AKS, Congress intended to prohibit financial incentives that
could affect the medical judgment of those providing or referring patients for health care
services.

Description of the Fraud Scheme

t. The Defendant admits that he incorporated and operated Radiance and Integrity

Medical and that McKay and McCoy incorporated and operated AE Wellness, McKay

Management Co., MC Medical Supply and other related business entities.

AE Wellness

u. On or about January 19, 2015, McCoy incorporated AE Wellness, a DME
company doing business as Summit Medical Supply, and listed himself as the organizer and
registered agent. On or about August 30, 2016, AE Wellness became a Medicare provider.

v. In or about February 2017, co-schemer McKay began working for AE Wellness

as the office manager and compliance officer. She was responsible for billing for AE Wellness
and Patriot Medical Supplies, dealing with patient complaints, and handling:Medicare audits.

w. From about April 2017 to late 2017, the Defendant managed -the:day-to-day
operations at AE Wellness. His duties included, among others, receiving orders forsDME and
arranging for the DME to be shipped to patients’ homes. =? we EL

Xx. While employed at AE Wellness, the Defendant, McKay, and:Mc@ay received
Medicare compliance training, which included training on the federal: Anti-Kickback Statute.
They were informed and therefore knew it was illegal to solicit, offer, pay, :or-receive kickback
payments in exchange for referring patients, items, or services which were to: be:reimbursed by
Medicare or Medicaid.

y. It was part of the scheme and artifice to defraud that co-schemer McCoy
contracted with marketing firms to identify patients for AE Wellness and paid the marketing
companies for each referral sent to AE Wellness. The marketing companies ran television and
online ads offering orthotic braces, at no cost, to the patients. When a patient responded to the
ad, an employee of the call center collected pertinent information, including the-patient’s name
and address, name of the patient’s primary care physician, insurance information;.Medicare
number, and areas of pain. oat ets

z. It was part of the scheme and artifice to defraud that the marketing, company then
sent the patient information to a telemedicine doctor, who ordered the DME equipment. The
telemedicine doctor had no prior doctor-patient relationship with the patients,:did-not directly
communicate with the patients in most cases, and did not evaluate or assess :the:patients’ need for
the DME and other items. The Defendant had no personal contact with any telemedicine doctors.
The order signed by the telemedicine doctor, called a “lead” or a “full lead;””:was:then
electronically transmitted to a marketing company, which sold the leads to DME:campanies.

aa. It was part of the scheme and artifice to defraud that while the fraud:scheme was

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ongoing, McCoy used several individuals and marketing companies to generate leads and
frequently changed companies because of the large number of patient complaints that AE
Wellness received. Patients or the patient representatives routinely complained that they had not
requested and did not need or want the orthotic braces and also complained about the co-pay that
was to be paid by the patient.

bb. One of the individuals from whom McCoy bought leads was A.W. who at times
sent AE Wellness 100 to 300 leads per week. McCoy and A.W. agreed that A.W. would receive
70-80% of the AE Wellness profits in return for A.W. sending leads and paying for orthotic
braces and the costs associated with shipping the braces to patients.

cc. It was also part of the scheme and artifice to defraud that co-schemer McCoy had
an agreement with R.F. to buy both “raw” and “full” leads from R&L Senior Marketing
(“R&L”), which was owned by R.F. McCoy paid R&L about $35 to $40 for each “raw lead,”
which was a lead that did not include a doctor’s order and paid R&L about $280 to $300 for a
“full lead,” which was a lead that included a doctor’s order. McCoy paid R&L about $10,000 to
$15,000 per month for leads.

dd. From about September 2016 until about August 2017, AE Wellness submitted or
caused to be submitted reimbursement claims, totaling $6,028,505, to Medicare for the DME
provided to patients based on the leads. The Defendant, McKay, and McCoy knew Medicare
would not pay for items or services obtained by illegal kickbacks. Defendant contends that the
amount of $6,028,505 is not attributable to him since he did not work for any of the DME
businesses until April of 2017. Defendant believes that the intended loss and actual loss
attributed to him and to Integrity Medical and Radiance Health Group is $2,740,206 and
$370,550 respectively for a total of $3,110,756.

ee. The Defendant admits that on or about July 28, 2017, he received and as the

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receptionist, signed for a letter from AdvanceMed, a Medicare contractor, suspending AE
Wellness’ participation in the Medicare Program. In the letter, AdvanceMed stated that AE
Wellness was suspended by Medicare because it had paid illegal kickbacks to doctors in
exchange for sending orders for orthotic braces to AE Wellness and had billed the Medicare
Program for medically unnecessary services when there was no prior relationship between the
ordering physician and the patients.

ff. The Defendant admits that McCoy and McKay eventually made him aware of the
Medicare suspension letter and told him that the reason Medicare had suspended AE Wellness
was because it had paid illegal kickbacks to doctors. To circumvent the Medicare suspension, the
Defendant, McKay, and McCoy decided to open new DME companies and to conceal McCoy’s
involvement in the new DME companies. Per their agreement, McKay opened MC Medical and
the Defendant opened Integrity Medical.
MC Medical Supply

gg. The Defendant admits that it was part of a scheme and artifice to defraud that on
or about August 2017, one month after AE Wellness’s suspension, co-schemers McKay and
McCoy agreed that McKay would open her own DME business, to be called MC Medical Supply
and located in Cape Girardeau, Missouri. McKay invested $13,000 and McCoy loaned McKay
an additional $20,000 to start MC Medical. McKay and McCoy agreed that McCoy would be
paid $100,000 annually for his assistance and they would split MC Medical profits “50/50.”

hh. The Defendant admits that it was part of the scheme and artifice to defraud that
McKay completed the Medicare provider enrollment application for MC Medical on or about
November 13, 2017 and again on March 2, 2018 and listed herself as the sole owner. McKay
intentionally concealed McCoy’s involvement in MC Medical, despite being advised in the

enrollment application that she could be prosecuted for submitting false information in the

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Medicare application. McKay feared that Medicare would not approve the application if McCoy
was involved, because his company, AE Wellness, had just been suspended months before and
AE Wellness still had not repaid Medicare for the payments received based on the earlier
fraudulent claims.

ii. The Defendant admits that it was further part of the scheme and artifice to defraud
that just as they had done at AE Wellness, McKay paid illegal kickbacks for leads or doctors’
orders that marketing companies sent to MC Medical. The amount McKay and MC Medical paid
for a lead or order varied depending on the type of brace.

jj. The Defendant admits that from June 5, 2018, to March 21, 2019, McKay
submitted, and caused MC Medical to submit, false and fraudulent reimbursement claims to
Medicare, totaling $1,831,075, and reimbursement claims to Tricare, totaling $15,540. At the
time the false and fraudulent claims were submitted, McKay knew that MC Medical had paid
illegal kickbacks for the referrals, knew Medicare would not pay for items or services obtained
by illegal kickbacks, and also knew Medicare would not pay for items or services which had not
been determined to be medically necessary by a doctor or an authorized health care professional.
The Defendant contends that he did not receive a portion of the referenced payments from Medicare
and Tricare.

Integrity Medical Supply

kk. | The Defendant admits that it was further part of the scheme and artifice to defraud
that on or about October 4, 2017, with McCoy’s assistance, the Defendant incorporated Integrity
Medical, a DME company in Cape Girardeau, Missouri. This was approximately three months
after AE Wellness was suspended by Medicare because of allegations of fraud. McCoy gave the
Defendant $10,000 to $12,000 to help him start Integrity Medical. The Defendant and McCoy

agreed that McCoy would be a “silent partner” and they would split the profits of Integrity

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Medical “50/50.” The Defendant and McCoy further agreed that the Defendant would pay
McCoy $75,000 to $80,000 in “consulting” fees.

ll. The Defendant admits that it was further part of the scheme and artifice to defraud
that on or about November 13, 2017, with McKay’s assistance, the Defendant completed a
Medicare provider enrollment application for Integrity Medical. In the application, the Defendant
identified himself as the owner, manager, and compliance officer for Integrity Medical, but
intentionally excluded information about McCoy, although he and McCoy were partners in
Integrity Medical.

mm. The Defendant admits that it was further part of the scheme and artifice to defraud
that the Defendant and McCoy continued the practice of paying illegal kickbacks for leads from
marketing companies, just as they had done at AE Wellness. The amount the Defendant and
McCoy paid for a lead varied depending on the type of brace.

nn. The Defendant admits that it was further part of the scheme and artifice to defraud
that from on or about March 8, 2018, to on or about March 13, 2019, the Defendant submitted,
and caused Integrity Medical to submit, false and fraudulent reimbursement claims to Medicare,
totaling $6,027,173 and reimbursement claims to Tricare, totaling $145,614. At the time the
claims were submitted, the Defendant knew that Integrity Medical had paid illegal kickbacks for
referrals, knew Medicare would not pay for items or services obtained by illegal kickbacks, and
also knew Medicare would not pay for items or services which had not been determined to be
medically necessary by a doctor or an authorized healthcare professional. Defendant further
admits that although claims were submitted in the amounts stated above, he knew that Medicare

traditionally did not pay the total amount of the claim and in this case Medicare and Tricare paid

Integrity Medical $2,740,206.

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Radiance Health Group

oo. The Defendant admits that it was further part of the scheme and artifice to defraud
that on or about January 9, 2018, the Defendant incorporated Radiance Health Group, a DME
company in Cape Girardeau, Missouri. On or about December 20, 2018, Radiance became a
Medicare provider, with the Defendant as the owner, director, and manager.

pp. The Defendant admits that in 2019, he submitted, and caused Radiance to submit,
false and fraudulent reimbursement claims to Medicare, totaling $922,562. At the time the claims
were submitted, the Defendant knew that Radiance had paid illegal kickbacks for referrals, knew
Medicare would not pay for items or services obtained by illegal kickbacks, and also knew
Medicare would not pay for items or services which had not been determined to be medically
necessary by a doctor or an authorized healthcare professional. The Defendant further admits that
Medicare, just as it had done for payments to Integrity Medical, reduced the payments to
Radiance from $922,562 to $370,550.

McKay Management Co.

qq. The Defendant further admits that in or about June 2018, he, McKay, and R. F.
attended a marketing meeting in Memphis, TN to discuss how their businesses would work
together. At the meeting, R.F. proposed that R&L provide marketing services to the DME
companies, provide leads, and order and pay for the braces, which would permit the DME
companies to fill orders for braces without any upfront out-of-pocket costs. The DME companies
would then submit reimbursement claims to Medicare and other insurers and pay R&L after
receiving the reimbursement payments. The DME companies would pay R&L for each lead
received from R&L, pay for the braces purchased by R&L, and split the profits with R&L. The
DME companies would receive 15% of the profits and R.F. would receive 85% of the profits.

IT. The Defendant admits that he accepted R.F.’s offer. According to the agreement

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with R.F., the Defendant received 15% of the profits of Integrity Medical and per his earlier
agreement with McCoy, the Defendant gave McCoy 7.5% of the profits.

SS. The Defendant admits that McKay and R.F. agreed that McKay would manage
the DME companies, including those companies owned by the Defendant, which were paying
R&L for leads. To perform this management function, in or about July 2018, McKay opened
McKay Management Co. (“MMC”).

tt. The Defendant admits that it was part of the scheme and artifice to defraud that
McKay, as directed by R.F., charged the DME companies $250 for each lead or patient referred
to the DME companies that she managed. At various times, McKay simultaneously managed: (a)
Integrity Medical, owned by the Defendant; (b) Radiance Health Group, also owned by the
Defendant; (c) MC Medical, owned by McKay; (d) Cherry Medical Supply located in
Chattanooga, TN and owned by Curtis French; (e) Paradise Medical! Solutions located in Miami
Gardens, FL and owned by Lateese Ford; (f) Helpful Home located in Miami Gardens, FL and
owned by Terrance French and Lateese Ford; (g) Perfect Motion located in Holiday, FL and
owned by Terrance French; (h) Embrace of Clearwater located in Clearwater, FL, and owned by
Lateese Ford; (i) M&M Medical located in Conyers, GA and owned by Marcus Moon; and (j)
JLynn Medical Supply located in Atlanta, GA and owned by Lateese Ford.

uu. The Defendant further admits that it was part of the scheme and artifice to defraud
that McKay assisted R.F. in acquiring and setting up new DME companies, in which French’s
ownership interest was concealed. McKay knew the reason French acquired multiple DME
companies was to “stay under the radar” of Medicare, which was more likely to scrutinize and
audit a company that submitted large numbers of claims for orthotic braces.

vv. | The Defendant further admits that it was part of the scheme and artifice that at the

end of the month, McKay calculated the total reimbursements received by each DME company

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and then calculated the 85/15 profit split. For example, McKay determined that in August 2018,
Integrity Medical received $213,124.77 in reimbursements for orthotic braces provided to 309
patients. From this reimbursement amount, the Defendant paid R.F. and R&L $77,250, or $250
for each of the 309 patients R&L had referred to Integrity Medical, and paid R.F. an additional
$55,797.85 as his 85% share of Integrity Medical’s profit for the month. The Defendant received
$9,846.68 or 15% of Integrity Medical’s profit of $65,644.53 for August 2018.

ww. The Defendant admits that he knew the DME companies, including those that he,
McKay, and McCoy owned and operated, submitted claims for orthotic braces when no
physician or qualified health care professional had determined the patients’ need for the braces.
As an example, the Defendant knew some of the DME companies that McKay managed
submitted reimbursement claims for knee braces. McKay and R.F. knew that certain tests had to
be performed on the knees to determine the medical necessity for knee braces and that the
telemedicine doctors signing the orders could not perform the required tests by phone.

XX, The Defendant admits that on or about August 3, 2018, he submitted or caused to
be submitted a false and fraudulent reimbursement claim for orthotic braces for patient W.R.
based on an order, which a telemedicine doctor signed without determining medical necessity in
exchange for illegal kickbacks and the Defendant obtained the order by paying illegal kickbacks
to marketing companies and individuals for referring the order to Integrity Medical.

yy. | The Defendant admits that on or about September 21, 2018, he knowingly and
willfully submitted, or caused to submitted, to the Medicare Program a reimbursement claim for
patient C.A. for orthotic braces, which claim falsely represented that the doctor listed on the
order had determined the patient needed orthotic braces.

ZZ. The Defendant admits that on or about September 28, 2018, he paid or caused to

be paid $225, 000 to R&L Marketing for referring orders for orthotic braces to Integrity Medical,

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which in turn billed and received payments from a hederal health care benefit program for the
orthotic braces.
5. STATUTORY PENALTIES:

The Defendant fully understands that the maximum possible penalty provided by law for
the crime of health care fraud, as charged in Count 1, to which the Defendant is pleading guilty,
is imprisonment of not more than 10 years, a fine of not more than $250,000, or both such
imprisonment and fine. The Court may also impose a period of supervised release of not more
than 3 years.

The Defendant fully understands that the maximum possible penalty provided by law for
the crime of making a false statement concerning a health care matter, as charged in Count 7, to
which the Defendant is pleading guilty, is imprisonment of not more than 5 years, a fine of not
more than $250,000, or both such imprisonment and fine. The Court may also impose a period of
supervised release of not more than 3 years.

The Defendant fully understands that the maximum possible penalty provided by law for
the crime of offering and paying illegal kickbacks for referrals, as charged in Count 12, to which
the Defendant is pleading guilty, is imprisonment of not more than 10 years, a fine of not more
than $100,000, or both such imprisonment and fine. The Court may also impose a period of
supervised release of not more than 3 years.

6. U.S. SENTENCING GUIDELINES: 2018 MANUAL:

The Defendant understands that this offense is affected by the U.S. Sentencing
Guidelines and the actual sentencing range is determined by both the Total Offense Level and
the Criminal History Category. The parties agree that the following are the applicable U.S.

Sentencing Guidelines Total Offense Level provisions.

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a. Chapter 2 Offense Conduct:

(1) Base Offense Level: The parties agree that the base offense level for Counts
1 and 7 is 6, as found in Section 2B1.1(a)(2) and the base offense level for Count 12 is 8, as
found in Section 2B4.1.

(2) Specific Offense Characteristics: The parties do not agree on the
application of the Specific Offense Characteristics. The Government believes that the base
offense level should be increased by 18 levels, pursuant to Section 2B1.1(b)(1)(J), because the
loss exceeded $3.5 million and did not exceed $9.5 million and should be further increased by an
additional 3 levels, pursuant to Section 2B1.1(b)(7)(ii), because the offense involves a loss of
over $7 million to a Government health care program. The Defendant believes that the offense
level should be increased by 16 levels based on an actual loss of $3,110,756 and should be
further increased by an additional 2 levels, pursuant to Section 2B1.1(b)(7)(i), because the loss to
a Government health care program--which is attributable to him--is more than $1,000,000 and

less than $7,000,000.

b. Chapter 3 Adjustments:

(1) Acceptance of Responsibility: The parties agree that 3 levels should be

deducted pursuant to Section 3E1.1(a) and (b), because the Defendant has clearly demonstrated
acceptance of responsibility and timely notified the Government of the Defendant’s intention to
plead guilty. The parties agree that the Defendant’s eligibility for this deduction is based upon
information presently known. If, subsequent to the taking of the guilty plea, the Government
receives new evidence of statements or conduct by the Defendant which it believes are
inconsistent with Defendant’s eligibility for this deduction, the Government may present said
evidence to the Court, and argue that the Defendant should not receive all or part of the

deduction pursuant to Section 3E1.1, without violating the plea agreement.

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(2) Other Adjustments: The parties disagree concerning the application of the
following adjustments. The Government believes that the offense level should be increased by 2
levels, pursuant to Section 3B1.3, because the Defendant abused a position of private or public
trust and increased an additional 3 levels, pursuant to Section 3B1.1(b), because the Defendant
was a manager or supervisor of a criminal activity that involved five or more participants or was
otherwise extensive. The Defendant does not believe that these enhancements are applicable.

c. Other Adjustment(s)/Disputed Adjustments: None

d. Estimated Total Offense Level: The parties do not agree on the Total Offense
Level.

e. Criminal History: The determination of the Defendant’s Criminal History Category
shall be left to the Court. Either party may challenge, before and at sentencing, the findings of
the Presentence Report as to the Defendant’s criminal history and the applicable category. The
Defendant’s criminal history is known to the Defendant and is substantially available in the
Pretrial Services Report.

f. Effect of Parties’ U.S. Sentencing Guidelines Analysis: The parties agree that the
Court is not bound by the Guidelines analysis agreed to herein. The parties may not have
foreseen all applicable Guidelines. The Court may, in its discretion, apply or not apply any
Guideline despite the agreement herein and the parties shall not be permitted to withdraw from
the plea agreement.

7. WAIVER OF APPEAL AND POST-CONVICTION RIGHTS:

a. Appeal: The Defendant has been fully apprised by defense counsel of the

Defendant’s rights concerning appeal and fully understands the right to appeal the sentence

under Title 18, United States Code, Section 3742.

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(1) Non-Sentencing Issues: The parties waive all rights to appeal all non-
jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to pretrial
motions, discovery, the guilty plea, the constitutionality of the statute(s) to which Defendant is
pleading guilty and whether the Defendant’s conduct falls within the scope of the statute(s).

(2) Sentencing Issues: In the event the Court accepts the plea and after
determining the Sentencing Guidelines range, as proposed by the Defendant, and sentences the
Defendant within or below that range, then, as part of this agreement, the Defendant hereby
waives all rights to appeal all sentencing issues other than Criminal History, but only if it affects
the Base Offense Level or Criminal History Category. Similarly, the Government hereby waives
all rights to appeal all sentencing issues other than Criminal History, provided the Court accepts
the plea and Total Offense Level and sentences the Defendant within or above the sentencing
guideline range recommended by the Government.

b. Habeas Corpus: The Defendant agrees to waive all rights to contest the conviction
or sentence in any post-conviction proceeding, including one pursuant to Title 28, United States
Code, Section 2255, except for claims of prosecutorial misconduct or ineffective assistance of
counsel.

c. Right to Records: The Defendant waives all rights, whether asserted directly or by a
representative, to request from any department or agency of the United States any records
pertaining to the investigation or prosecution of this case, including any records that may be
sought under the Freedom of Information Act, Title 5, United States Code, Section 522, or the
Privacy Act, Title 5, United States Code, Section 552(a).

8. OTHER:
a. Disclosures Required by the United States Probation Office: The Defendant

agrees to truthfully complete and sign forms as required by the United States Probation Office

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prior to sentencing and consents to the release of these forms and any supporting documentation
by the United States Probation Office to the government.

b. Civil or Administrative Actions not Barred; Effect on Other Governmental

 

Agencies: Nothing contained herein limits the rights and authority of the United States to take
any civil, tax, immigration/deportation or administrative action against the Defendant.

c. Supervised Release: Pursuant to any supervised release term, the Court will impose
standard conditions upon the Defendant and may impose special conditions related to the crime
Defendant committed. These conditions will be restrictions on the Defendant to which the
Defendant will be required to adhere. Violation of the conditions of supervised release resulting
in revocation may require the Defendant to serve a term of imprisonment equal to the length of
the term of supervised release, but not greater than the term set forth in Title 18, United States
Code, Section 3583(e)(3), without credit for the time served after release. The Defendant
understands that parole has been abolished

d. Mandatory Special Assessment: Pursuant to Title 18, United States Code, Section
3013, the Court is required to impose a mandatory special assessment of $100 per count for a
total of $300, which the Defendant agrees to pay at the time of sentencing. Money paid by the
Defendant toward any restitution or fine imposed by the Court shall be first used to pay any
unpaid mandatory special assessment.

e. Possibility of Detention: The Defendant may be subject to immediate detention
pursuant to the provisions of Title 18, United States Code, Section 3143.

f. Fines, Restitution and Costs of Incarceration and Supervision: The Court may
impose a fine, restitution (in addition to any penalty authorized by law), costs of incarceration
and costs of supervision. The Defendant agrees that any fine or restitution imposed by the Court

will be due and payable immediately. Pursuant to Title 18, United States Code, Section 3663A,

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an order of restitution is mandatory for all crimes listed in Section 3663A(c). Regardless of the
count of conviction, the amount of mandatory restitution imposed shall include all amounts
allowed by Section 3663A(b) and the amount of loss agreed to by the parties, including all
relevant conduct loss. The Defendant agrees to provide full restitution to all victims of all
charges in the Information. The Defendant requests that the Court consider the $242, 780.39 that
the Government seized from various bank accounts prior to his indictment.

g. Forfeiture: The Defendant agrees to the forfeiture set forth in the Forfeiture
Allegation in the Indictment to which the Defendant is pleading guilty. This agreement includes
any items that were seized by law enforcement officials during the course of this investigation.
The Defendant also agrees to the entry of a forfeiture money judgment in the amount of
restitution determined by the court at sentencing. The Defendant further agrees that the proffer of
evidence supporting this guilty plea is sufficient evidence to support such forfeiture.

The Defendant agrees that the Court may enter a consent preliminary order of forfeiture
at the time of his guilty plea or at any time before sentencing. The Defendant further agrees that
this order will become final as to the Defendant when it is issued and will be part of his sentence
pursuant to Fed. R. Crim. P. 32.2(b)(4)(A).

The Defendant agrees that the Government may choose in its sole discretion how it
wishes to accomplish forfeiture, whether by criminal or civil forfeiture, using judicial or non-
judicial forfeiture processes. The Defendant waives all rights to assert any interest in the
forfeited property in the future, and will withdraw any prior claims made to forfeited property,
whether they were made in a judicial or non-judicial forfeiture process.

The Defendant agrees (i) to assist the Government in identifying all property that is
subject to forfeiture, (ii) to take any and all actions necessary to transfer title and ownership of

said property to the Government, and (iii) to help the Government to rebut the claims of

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nominees and/or alleged third party owners, including by testifying truthfully in any judicial
forfeiture proceeding.

The Defendant knowingly and intelligently waives all constitutional and statutory
challenges in any manner to any forfeiture carried out in accordance with this plea agreement on
any grounds, including that the forfeiture constitutes an excessive fine or punishment. The
Defendant further knowingly and intelligently waives any rights the Defendant may have (i) for
notice of the forfeiture to be given in the charging instrument, (ii) for a jury or the Court to
determine what property is subject to forfeiture, (iii) for the Court to explain the forfeiture at the
Defendant's change of plea hearing, and (iv) for the forfeiture to be made part of the oral
pronouncement of sentence and included in the judgment.

h. Admissions: Except under circumstances where the Court, acting on its own, fails to
accept this plea agreement, the Defendant agrees that, upon the Defendant’s signing of this plea
agreement, the facts that the Defendant has admitted under this plea agreement as set forth
above, as well as any facts to which the Defendant admits in open court at the Defendant’s plea
hearing, shall be admissible against the Defendant under Federal Rule of Evidence 801(d)(2)(A)
in any subsequent proceeding, including a criminal trial, and the Defendant expressly waives the
Defendant’s rights under Federal Rule of Criminal Procedure 11(f) and Federal Rule of Evidence
410 with regard to the facts the Defendant admits in conjunction with this plea agreement.

9. ACKNOWLEDGMENT AND WAIVER OF THE DEFENDANT’S RIGHTS:

In pleading guilty, the Defendant acknowledges, fully understands and hereby waives his
rights, including but not limited to: the right to plead not guilty to the charges; the right to be
tried by a jury in a public and speedy trial; the right to file pretrial motions, including motions to
suppress or exclude evidence; the right at such trial to a presumption of innocence; the right to

require the government to prove the elements of the offenses against the Defendant beyond a

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reasonable doubt; the right not to testify; the right not to present any evidence; the right to be
protected from compelled self-incrimination; the right at trial to confront and cross-examine
adverse witnesses; the right to testify and present evidence and the right to compel the attendance
of witnesses. The Defendant further understands that by this guilty plea, the Defendant expressly
waives all the rights set forth in this paragraph.

The Defendant fully understands that the Defendant has the right to be represented by
counsel, and if necessary, to have the Court appoint counsel at trial and at every other stage of
the proceeding. The Defendant’s counsel has explained these rights and the consequences of the
waiver of these rights. The Defendant fully understands that, as a result of the guilty plea, no trial
will, in fact, occur and that the only action remaining to be taken in this case is the imposition of
the sentence.

The Defendant is fully satisfied with the representation received from defense counsel.
The Defendant has reviewed the Government’s evidence and discussed the Government’s case
and all possible defenses and defense witnesses with defense counsel. Defense counsel has
completely and satisfactorily explored all areas which the Defendant has requested relative to the
Government’s case and any defenses.

The guilty plea could impact Defendant’s immigration status or result in deportation. In
particular, if any crime to which Defendant is pleading guilty is an “aggravated felony” as
defined by Title 8, United States Code, Section 1 101(a)(43), removal or deportation is presumed
mandatory. Defense counsel has advised the Defendant of the possible immigration

consequences, including deportation, resulting from the plea.

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10. VOLUNTARY NATURE OF THE GUILTY PLEA AND PLEA AGREEMENT:

This document constitutes the entire agreement between the Defendant and the
Government, and no other promises or inducements have been made, directly or indirectly, by
any agent of the Government, including any Department of Justice attorney, concerning any plea
to be entered in this case. In addition, the Defendant states that no person has, directly or
indirectly, threatened or coerced the Defendant to do or refrain from doing anything in
connection with any aspect of this case, including entering a plea of guilty.

The Defendant acknowledges having voluntarily entered into both the plea agreement
and the guilty plea. The Defendant further acknowledges that this guilty plea is made of the
Defendant’s own free will and that the Defendant is, in fact, guilty.

11. CONSEQUENCES OF POST-PLEA MISCONDUCT:

After pleading guilty and before sentencing, if the Defendant commits any crime, other
than minor traffic offenses, violates any condition of release that results in revocation, violates
any term of this guilty plea agreement, intentionally provides misleading, incomplete or
untruthful information to the U.S. Probation Office or fails to appear for sentencing, the United
States, at its option, may be released from its obligations under this agreement. The Government
may also, in its discretion, proceed with this agreement and may advocate for any sentencing
position supported by the facts, including but not limited to obstruction of justice and denial of
acceptance of responsibility.

12. NO RIGHT TO WITHDRAW GUILTY PLEA:
Pursuant to Rule 11(c) and (d), Federal Rules of Criminal Procedure, the Defendant

understands that there will be no right to withdraw the plea entered under this agreement, except

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